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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                        )      Chapter 11
                                              )
Citadel Watford City Disposal                 )      Case No. 15-11323 (KJC)
Partners, LP, et al.1                         )
                                              )      (Jointly Administered)
                  Debtors.                    )
                                              )      Hearing Date: November 15, 2016 at 3:00 p.m. EST
                                              )      Objection Deadline: November 7, 2016 at 4:00 p.m. EST

     FIRST INTERIM APPLICATION OF SHAW FISHMAN GLANTZ & TOWBIN
          LLC FOR COMPENSATION FOR SERVICES RENDERED AND
        REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL
    COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD JULY 8, 2016
                        THROUGH AUGUST 31, 2016

    Name of Applicant:                                         Shaw Fishman Glantz & Towbin
                                                               LLC

    Authorized to Provide Professional Services to:            Official Committee of Unsecured
                                                               Creditors

    Date of Retention:                                         Nunc Pro Tunc to July 8, 2016

    Period for which Compensation and                          July 8, 2016 – August 31, 2016
    Reimbursement is Sought for the First
    Interim Period:

    Amount of Compensation Sought as Actual,                   $7,994.00
    Reasonable, and Necessary for the First Interim
    Period:

    Amount of Expense Reimbursement Sought                     $36.02
    As Actual, Reasonable, and Necessary for the
    First Interim Period:

    This is an:      Monthly ____ Interim Application            X      Final Application

    This is Shaw Fishman’s First Interim Application.


    1       The Debtors and the last four digits of their respective taxpayer identification numbers are as
            follows: Citadel Watford City Disposal Partners, LP (1520); Pembroke Fields, LLC (0341);
            Citadel Energy SWD Holdings, LLC (5266) and Citadel Energy Services, LLC (7762). The
            Debtors’ address is 502 3rd Ave. SW, Watford City, North Dakota 58854.



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Summary of Monthly Fee Applications Filed for Interim Period:

                                          REQUESTED                    APPROVED

Date Filed        Period           Fees            Expenses     Fees          Expenses
                  Covered
09/01/2016        07/08/2016–      $4,674.50       $32.02       $3,739.60     $32.02
                  07/31/2016
10/07/2016        08/01/2016-      $3,319.50       $4.00        Pending       Pending
                  08/31/2016
                  TOTAL:           $7,994.00       $36.02       $3,739.60     $32.02




Summary of Objections to Monthly Fee Applications:

None filed to date.




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 CUMULATIVE SUMMARY OF PROFESSIONAL SERVICES RENDERED BY
SHAW FISHMAN GLANTZ & TOWBIN LLC ON BEHALF OF THE OFFICIAL
            COMMITTEE OF UNSECURED CREDITORS
      FOR THE PERIOD JULY 8, 2016 THROUGH AUGUST 31, 2016

    NAME OF       POSITION/DATE HOURLY TOTAL              TOTAL
PROFESSIONAL ADMITTED TO BILLING HOURS COMPENSATION
     PERSON        BAR/NUMBER          RATE     BILLED   SOUGHT
                     OF YEARS
Thomas M. Horan Member –                $495.00    10.50     $5,197.50
                  Admitted to
                  Delaware Bar
                  2005; Joined Shaw
                  Fishman as
                  Member 2016
Allison B. Hudson Associate –           $310.00     8.60     $2,666.00
                  Admitted to Illinois
                  Bar 2013; Joined
                  Shaw Fishman
                  2013
Maria H Zavala    Paralegal- Joined     $145.00     0.90       $130.50
                  Shaw Fishman
                  2006
TOTALS                                              20.0     $7,994.00
Total Blended                                                  $399.70
Rate




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 CUMULATIVE SUMMARY OF SERVICES BY TASK FOR PROFESSIONAL
 SERVICES RENDERED BY SHAW FISHMAN GLANTZ & TOWBIN LLC ON
  BEHALF OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
      FOR THE PERIOD JULY 8, 2016 THROUGH AUGUST 31, 2016

      Task Description                  Hours                     Amount
Adversary Proceedings                               0.30                     $148.50
Case Administration                                 0.40                     $124.00
Automatic Stay                                      1.20                     $538.50
Committee                                           1.00                     $421.00
Meetings/Communications
Creditors and Claims                                0.10                    $49.50
Fee Applications                                    4.10                 $1,437.50
Fee Applications/Objections                         0.50                   $247.50
General Investigation                               1.40                  $693.00
Hearings/Agendas                                    0.30                  $148.50
Plan of Reorganization                              2.60                 $1,287.00
Pre-Petition Litigation                             0.70                   $346.50
Retention of Professionals                          7.40                 $2,552.50
TOTAL                                               20.0                 $7,994.00




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  CUMULATIVE SUMMARY OF ACTUAL AND NECESSARY EXPENSES
INCURRED BY SHAW FISHMAN GLANTZ & TOWBIN LLC ON BEHALF OF
     THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
     FOR THE PERIOD JULY 8, 2016 THROUGH AUGUST 31, 2016

             EXPENSES                                    AMOUNTS
PACER                                                                        $10.90
Postage                                                                      $25.12
Total Expenses Requested:                                                    $36.02




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                          )      Chapter 11
                                                )
Citadel Watford City Disposal                   )      Case No. 15-11323 (KJC)
Partners, LP, et al.2                           )
                                                )      (Jointly Administered)
            Debtors.                            )
_______________________________                 )      Objection Deadline: October 27, 2016 at 4:00 p.m. (ET)

       FIRST INTERIM FEE APPLICATION OF SHAW FISHMAN GLANTZ &
      TOWBIN LLC FOR COMPENSATION FOR SERVICES RENDERED AND
        REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL
    COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD JULY 8, 2016
                        THROUGH AUGUST 31, 2016

            Shaw Fishman Glantz & Towbin LLC (“Shaw Fishman”), as counsel to the

    Official Committee of Unsecured Creditors (the “Committee”) of the debtors and

    debtors-in-possession (collectively, the “Debtors”) in the above-captioned cases, submits

    its First Interim Fee Application (the “Application”), pursuant to sections 327, 330(a),

    and 331 of title 11 of the United States Code (the “Bankruptcy Code”), Rule 2016 of the

    Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-2 of the

    Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

    for the District of Delaware (the “Local Rules”), and this Court’s Order Establishing

    Procedures for Interim Compensation and Reimbursement for Professionals, entered

    August 25, 2015 (the “Interim Compensation Order”)3 [Case No. 15-11322 Docket No.

    110], for (i) the allowance of interim compensation for professional services performed


    2       The Debtors and the last four digits of their respective taxpayer identification numbers are as
            follows: Citadel Watford City Disposal Partners, LP (1520); Pembroke Fields, LLC (0341);
            Citadel Energy SWD Holdings, LLC (5266) and Citadel Energy Services, LLC (7762). The
            Debtors’ address is 502 3rd Ave. SW, Watford City, North Dakota 58854.

    3       Capitalized terms used herein but not capitalized shall have the meaning(s) ascribed to them in the
            Interim Compensation Order.


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by Shaw Fishman for the first interim application period July 8, 2016 through and

including August 31, 2016 (the “Compensation Period”) in the amount of $7,994.00 (the

“Interim Compensation Amount”) and (ii) reimbursement of its actual and necessary

expenses in the amount of $36.02 (the “Interim Expense Amount”) incurred during the

First Interim Period. In support of this Application, Shaw Fishman respectfully represents

the following:

                                    I.      Jurisdiction

        1.       This Court has jurisdiction over this Application pursuant to 11 U.S.C. §

157(b)(2).

        2.       Venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                    II.     Background

        3.       On June 19, 2015 (the “Petition Date”), each of the Debtors filed with the

Court a voluntary petition for relief under chapter 11 of the Bankruptcy Code,

commencing the above-captioned chapter 11 cases. The Debtors continue to operate

their businesses and manage their property as debtors-in-possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code.

        4.       No trustee or examiner has been appointed in these cases (the “Chapter 11

Cases”).

        5.       On July 20, 2015, the Office of the United States Trustee appointed the

Committee pursuant to Bankruptcy Code section 1102(a)(1). The Committee originally

selected Womble Carlyle Sandridge & Rice, LLP (“WCSR”) as its counsel. The

Committee later applied to the Court for an order authorizing the Committee to retain

Shaw Fishman as its counsel, nunc pro tunc to July 8, 2016.




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              III.     Summary of Application for the Compensation Period

        6.       By this Application, and in accordance with the Interim Compensation

Order, Shaw Fishman requests approval of the Interim Compensation Amount and the

Interim Expense Amount for the Compensation Period.

        7.       By this Court’s Order dated August 18, 2016, the Committee was

authorized to retain Shaw Fishman as their attorneys effective nunc pro tunc to July 8,

2016 [Docket No. 389] (the “Retention Order”). The Retention Order authorizes the

Debtors to compensate Shaw Fishman in accordance with the procedures set forth in

sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules,

and such other procedures as were to be fixed by order of the Court.

        8.       During the Compensation Period, Shaw Fishman performed the services

for which it is seeking compensation from the Debtors and their estates. Shaw Fishman

received no payment and no promises of payment from any source for services rendered,

or to be rendered, in any capacity whatsoever in connection with matters covered by this

Application. There is no agreement or understanding between Shaw Fishman and any

other person, other than members of the firm, for sharing of compensation received for

services rendered in these cases.

        9.       Shaw Fishman’s monthly fee applications during the Compensation Period

have been filed and served in accordance with the Interim Compensation Order.

                                     IV.    Relief Requested

        10.      By this Application, Shaw Fishman requests that the Court approve

payment of one-hundred percent (100%) of the fees and expenses incurred by Shaw

Fishman during the Compensation Period.




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        11.      All services for which compensation is requested by Shaw Fishman were

performed on behalf of the Committee. Shaw Fishman’s services have been necessary

and beneficial to the Committee and other parties in interest.

        12.      In accordance with the factors enumerated in Bankruptcy Code section

330, Shaw Fishman respectfully submits that the amount requested by Shaw Fishman is

fair and reasonable given (a) the complexity of the cases, (b) the time expended, (c) the

nature and extent of the services rendered, (d) the value of such services, and (e) the costs

of comparable services other than in a case under the Bankruptcy Code. Moreover, Shaw

Fishman has reviewed the requirements of Local Rule 2016-2 and the Interim

Compensation Order and believes that this Application complies with such Rule and

order. To the extent that this Application fails to comply with Local Rule 2016-2 in any

respect, Shaw Fishman submits that such non-compliance is non-material, and

respectfully requests that such non-compliance be waived.

                                       V.      Notice

        13.      Notice of this Application will be served upon: (i) Citadel Watford City

Disposal Partners, L.P., P.O. Box 2127, Watford City, North Dakota 58854, (ii) counsel

for the Debtors, Gellert Scali Busenkell & Brown, LLC, 913 N. Market Street, 10th

Floor, Wilmington, Delaware 19801, Attn.: Michael G. Busenkell; and (iii) the Office of

the United States Trustee for the District of Delaware, J. Caleb Boggs Federal Building,

844 King Street, Suite 2207, Wilmington, Delaware 19801, Attn.: Linda Casey.

                                     VI.    Conclusion

        14.      WHEREFORE, Shaw Fishman respectfully requests that the Court enter

an order, substantially in the form attached hereto, providing: (i) the fees in the amount of




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$7,994.00, as compensation for necessary professional services rendered, and actual and

necessary costs and expenses in the amount of $36.02 (for a total of $8,030.02) be

allowed on an interim basis; (ii) that the Debtor be authorized and directed to pay to

Shaw Fishman the Interim Compensation Amount and the Interim Expense Amount; and

(iii) that Shaw Fishman be granted such further relief as may be just and proper.

Date: October 24, 2016                           SHAW FISHMAN GLANTZ
                                                    & TOWBIN LLC


                                                 /s/ Thomas M. Horan
                                                 Thomas M. Horan (Del Bar. No. 4641)
                                                 919 N. Market Street, Suite 600
                                                 Wilmington, DE 19801
                                                 Telephone: (302) 480-9412
                                                 E-mail: thoran@shawfishman.com

                                                 Counsel to the Official Committee of
                                                 Unsecured Creditors




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